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CGFI1 (10/01/16)




ORDERED in the Southern District of Florida on January 7, 2021




                                                                                                  Peter D. Russin
                                                                                                  United States Bankruptcy Judge


                                                    United States Bankruptcy Court
                                                       Southern District of Florida
                                                         www.flsb.uscourts.gov
                                                                                                                Case Number: 19−24331−PDR
                                                                                                                Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Ralph Levi Sanders Jr.
561 SW 60 Ave.
Plantation, FL 33317
SSN: xxx−xx−6171


                                               ORDER STRIKING DOCUMENT
       The following document was filed on 12/15/2020:


Title of Stricken Document: Ex Parte Motion for Postponement of Mortgage Modification Mediation Scheduled for
December 17, 2020


    The document was not signed as required by Bankruptcy Rule 1008 or 9011, or was not
accompanied by Official Form Declaration Concerning Debtors Schedules as required by Local Rule
1009−1(D)(1)

      It is ORDERED that this document is stricken. Any fees accompanying the document shall not be
refunded. A stricken document resubmitted in compliance with the rules shall be considered as filed on the
date it is resubmitted for filing, not the date the noncomplying document was initially filed, and must be
served in accordance with court rules. If required, an additional fee must also be remitted. If the document
stricken was a notice or motion served pursuant to Local Rules 3007−1(C), 4001−1(C), 6004−1(D),
6007−1(B) or 9013−1(D), the proponent is denied any relief which would have been afforded under the
"negative notice" provisions contained in these rules and the party filer shall not submit any requests for
orders to take any action based upon the filing of this stricken document.
The clerk of court shall serve a copy of this order on the party filing this document and on all parties on the service list of the
document being stricken.
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